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                                          UNITED STATES DISTRICT COURT
                                           DISTRICT OF MASSACHUSETTS

                                                              CIVIL ACTION NO. 4:19-CV-10520-TSH

                                                                   REPLY MEMORANDUM IN
    CHARU DESAI,
                                                                   SUPPORT OF MOTION FOR
        Plaintiff,
                                                                   SUMMARY JUDGMENT BY
                                                                   DEFENDANTS, UMASS
            v.
                                                                   MEMORIAL MEDICAL CENTER,
                                                                   INC., UMASS MEMORIAL
    UMASS MEMORIAL MEDICAL
                                                                   MEDICAL GROUP, INC., MAX
    CENTER, INC., et al.,
                                                                   ROSEN, M.D., AND STEPHEN
         Defendants.
                                                                   TOSI, M.D.


          In support of their Motion for Summary Judgment (Doc. 64), Defendants have offered

extensive facts, which are based largely on Plaintiff’s testimony, documents, and

uncontrovertible testimony of Defendants’ witnesses. In her Opposition papers (Doc. 94), 1

Plaintiff provides almost no evidence to materially dispute these facts. Instead, she creates a

narrative which is not supported by evidence in the record, and is, in many instances, in direct

contradiction of Plaintiff’s own sworn testimony.

          In essence, the basis for Plaintiff’s opposition is that no party’s testimony can be relied

on, even her own, and thus, summary judgment should be denied based on conclusory

statements, unsupported conjecture, and her counsel’s arguments. First, Plaintiff claims that

Defendants’ testimony is not probative, because a jury could disregard it. Then, she claims that

all of her own unambiguous admissions should be disregarded, because it is not her testimony

that matters, but the evidence; that is, except for any testimony which disproves her narrative.



1
      Citations to “Opposition” are to Plaintiff’s Memorandum of Law in Opposition to the Motion for Summary
      Judgment by Defendants (Doc. 94); citations to “Response” are to Plaintiff’s Response to Statement of Material
      Facts Submitted by Defendants (Doc. 94-1); and citations to “P.S.O.F.” are to Plaintiff’s Statement of
      Additional Material Facts in Dispute in Opposition to the Motions for Summary Judgment of all Defendants
      (Doc. 95).


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          Plaintiff repeatedly cites to Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133

(2000), for the proposition that “at the summary judgment stage, the court should disregard all

evidence favorable to the moving party that the jury is not required to believe, even if it is

uncontradicted.” See Opposition, 5. Of course, as the Court knows, this is not the standard at

summary judgment. In Reeves, the Court was discussing the fact that it cannot make credibility

determinations at summary judgment, and must draw reasonable inferences in favor of the

nonmoving party when the evidence is disputed, not when it is uncontradicted. Id. at 150-151

(holding that the court should give credence to evidence supporting the moving party that is

uncontradicted). The standard claimed by Plaintiff would make summary judgment impossible

and the process wholly without purpose.

          The standard for summary judgment is clear. “Once the moving party has properly

supported her motion for summary judgment, the burden shifts to the nonmoving party, with

respect to each issue on which he has the burden of proof, to demonstrate that a trier of fact could

reasonably find in his favor.” Sears, Roebuck & Co. v. Goldstone & Sudalter, 128 F.3d 10, 18

(1st Cir. 1997) (emphasis supplied). “A party asserting that a fact … is genuinely disputed must

support the assertion by … citing to particular parts of materials in the record.” Fed.R.Civ.P.

56(c)(1). “A party cannot create an issue for the trier of fact by relying on the hope that the jury

will not trust the credibility of witnesses.” Sears, Roebuck & Co., 128 F.3d at 18 (internal

quotations omitted) (emphasis supplied); see Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

256-57 (1986) (“discredited testimony is not normally considered a sufficient basis for drawing a

contrary conclusion.”). “On issues where the nonmovant bears the ultimate burden of proof,

[s]he must present definite, competent evidence to rebut the motion.” Mesnick v. Gen. Elec. Co.,

950 F.2d 816, 822 (1st Cir. 1991). “If a party fails to properly support an assertion of fact or fails



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to properly address another party’s assertion of fact as required by Rule 56(c), the court may …

consider the fact undisputed for purposes of the motion.” Fed. R. Civ. P. 56(e).

          Not only does Plaintiff ask the Court to disregard much of Defendants’ evidence, without

rebuttal, she asks that the Court disregard her own testimony, much of which is conclusive as to

dispositive issues. In support, Plaintiff cites to Malin v. Hospira, Inc., 762 F.3d 552 (7th Cir.

2014), the facts of which bear no resemblance to her efforts to overlook her testimony. In

Hospira, the moving party had acted in bad faith in misrepresenting the record, and in doing so

“cherry-picked isolated phrases from [the plaintiff’s] deposition and claimed that these

‘admissions’ doomed her case,” but [w]hen the testimony is read in context [it was] clear that

[she] made no such admissions, and that [the defendant’s] presentation of the evidence amounted

to nothing more than selectively quoting deposition language it likes and ignoring deposition

language it does not like.” Id. at 564. 2

           “When an interested witness has given clear answers to unambiguous questions, he

cannot create a conflict and resist summary judgment with an affidavit that is clearly

contradictory, but does not give a satisfactory explanation of why the testimony is changed.”

Colantuoni v. Alfred Calcagni & Sons, Inc., 44 F.3d 1, 4-5 (1st Cir. 1994); Mahan v. Boston

Water & Sewer Comm’n, 179 F.R.D. 49, 53 (D. Mass. 1998) (“If a party simply could offer a

contradictory, post-deposition affidavit to defeat summary judgment without providing a

‘satisfactory explanation’ for the contradiction, the purpose of summary judgment would be

defeated.”). Here, as to much of her testimony, Plaintiff does not even present contrary testimony

by affidavit, but provides no contrary evidence at all, and no explanation for a reversal; only


2
     The Court noted that the defendant “seems to have based its litigation strategy on the hope that neither the
     district court nor this panel would take the time to check the record.” Id. In the present case, Defendants urge
     this Court to thoroughly review the record to review the extensive examples which cannot be comprehensively
     quoted in this Memorandum.

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argument. 3 The number of Plaintiff’s “clear answers to unambiguous questions” at deposition

which are reversed, disregarded, or ignored, with no basis or explanation, are too numerous to

list.

            Based on the evidence that is in the record, and which is not disputed with competent

evidence, there is no genuine issue as to any material fact, and Defendants are entitled to

summary judgment.

            I.       Discrimination

            To ultimately prevail, Plaintiff will have to prove that Defendants intentionally

discriminated against her on the basis of age, sex, or disability. Yet, she has offered scant

evidence to rebut Defendants’ legitimate reasons for its actions, and she fails to undermine the

extensive facts which conclusively justify the basis for their actions. Plaintiff’s opposition is

based on conclusory claims that Defendants’ positions have “weaknesses and inconsistencies,”

but a review of the evidence reveals a stark lack of genuine disagreement between the parties as

to the facts that are material to Plaintiff’s claims. 4

            A.       Termination

            Plaintiff’s employment was terminated after a blinded, controlled review by an unbiased

expert determined that Plaintiff’s quality of reads for chest CTs was deficient. This is not




3
        Plaintiff’s testimony that she is denying is not comprised of instances where she stated an opinion or
        information known at the time, and then discovery subsequently revealed additional or different information.
        These instances are also not her testimony regarding her opinions of the motives of Defendants, that she could
        not know. See Centola v. Potter, 183 F. Supp. 2d 403, 410-11 (D. Mass. 2002).
4
        The Medical Center was not Plaintiff’s employer under any theory, including under an agency analysis. Plaintiff
        cannot show that the Medical Center “exerted control over the manner and means of Plaintiff’s employment”
        just because she was credentialed to practice or was subject to the Medical Center’s bylaws and quality control.
        Plaintiff’s reliance on Salamon v. Our Lady of Victory Hosp., 514 F.3d 217, 220 (2d Cir. 2008), is misplaced.
        The Medical Center incorporates by reference the legal arguments as to the exercise of control as set forth by
        Defendant, Marlborough Hospital, in its Reply Memorandum in Support of Summary Judgment.


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genuinely disputed by Plaintiff. Plaintiff has not offered any evidence to support that the review

was biased or discriminatory in any way. Instead, Plaintiff questions the various factors that led

Dr. Rosen to engage the independent expert, and criticizes the methodology of the review.

          It is undisputed that Dr. Rosen received complaints about Plaintiff’s CT quality from Dr.

Dill, that Dr. Dill reported concerns raised by other physicians about Plaintiff’s reads. Response,

¶¶ 126, 128. 5

          Plaintiff also claims that Dr. Rosen’s knowledge of QA data from her prior faculty

review was not a justified reason to conduct a targeted review, because he did not do so for other

radiologists. See Opposition, pp. 16-17. First, Dr. Rosen did not engage an independent reviewer

based solely on the information from the quality assurance system; he was simply aware of

certain recorded errors, which were consistent with the other direct reports he had been

receiving, and the combination raised concerns he felt were necessary to address. See S.O.F., ¶¶

140, 151. Second, Plaintiff completely ignores the fact that the Medical Group did review other

radiologists’ quality, and Dr. Rosen did terminate these younger, male, non-disabled employees

based on quality concerns. See S.O.F., ¶¶ 203-207. In fact, the document Plaintiff cites to

support her argument – questioning why action was not taken against other the radiologists who

were included – was produced for the purpose of performing a review of another (younger, male,

non-disabled) physician who was in fact terminated for quality problems. Exhibit EE to attached

Supplemental Affidavit of Reid M. Wakefield, Second Affidavit of Max Rosen, M.D., M.P.H.

(“Second Rosen Aff.”), ¶ 15; S.O.F., ¶ 204. Another male physician who was forty years old had




5
     Plaintiff appears to claim that Dr. Dill did not discuss the concerns with Plaintiff, but whether or not she did has
     nothing to do with the fact that Dr. Rosen received complaints from and through her, and acted accordingly.
     Even so, Dr. Dill did attempt to discuss concerns with Plaintiff, but she responded with hostility and dismissed
     Dr. Dill’s attempts. Pl. Ex. SS.


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his quality investigated and was terminated just months before Plaintiff was given her notice.

S.O.F., ¶¶ 203, 205-207.

          Plaintiff does not dispute the fact that, on multiple occasions, Dr. Robinson expressed

concerns about Plaintiff’s CT quality, and at a meeting in part to discuss a significant concern

with chest imaging, Dr. Robinson stated to Dr. Rosen that she never believed Plaintiff’s reports

and could not rely on them. Response, ¶¶ 130, 135, 141-145. Plaintiff offers no evidence to

doubt Dr. Robinson’s report or statement, so, instead, she asks that the Court simply disregard

these facts. See Response, ¶ 145. Instead, Plaintiff claims only that Dr. Robinson’s complaints

should not (in her opinion) have triggered an independent review because Dr. Robinson had

“signed off on” Plaintiff’s reappointment to the Marlborough Hospital medical staff. See

Opposition, p. 18. First, Plaintiff does not cite evidence to show that Dr. Robinson personally

signed off on anything. See P.S.O.F., ¶ 193. Second, Dr. Robinson expressed concerns to Dr.

Rosen in an attempt to evaluate and remedy the concerns, which urging led Dr. Rosen – instead

of immediately impacting Plaintiff’s credentials to practice medicine – to engage an independent

expert to review Plaintiff’s reads to ensure that Dr. Robinson’s concerns were justified prior to

taking action. 6 Nothing about this reasoned and diligent approach to carefully evaluate and

investigate quality reports before taking action demonstrates pretext – it shows the opposite.

          Plaintiff points to the fact that Dr. Robinson also complained about reads performed by

other radiologists. See Opposition, p. 18. However, as discussed in Defendants’ Motion, Dr.

Rosen did in fact evaluate her concerns, and took action accordingly, including by having one



6
     The last credentialing period was before the completion of the independent review, P.S.O.F., ¶¶ 188, 194, which
     was conducted for the purpose of confirming what Dr. Rosen had heard regarding Plaintiff’s quality. Plaintiff
     seems to wish that instead of performing such a review, Dr. Rosen would have immediately acted to affect her
     credentials to practice medicine. Instead, Dr. Rosen recommended conditions on Dr. Desai’s privileges, stating
     that he was conducting a review following complaints by Dr. Robinson. P.S.O.F., ¶ 187.


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other physician stop reading chest CTs. S.O.F., ¶¶ 132-133, 135-136, 139. 7 In response, Plaintiff

simply contests that he did not, without offering any evidence to dispute this fact. Response, ¶¶

132-133, 135-136, 139. Plaintiff can cite no other physician who had a variety of quality

concerns expressed by their Division Chief and a treating physician in their specialty specifically

express serious concerns with their quality and state that she could not reply on their reports.

          Plaintiff also takes emails out of context to suggest that Dr. Rosen’s recruitment of a

chest radiologist was the motivation to terminate Plaintiff. See Opposition, p. 27. However, Dr.

Rosen was continuously recruiting for chest radiologists throughout this time (due to the lack of

capacity for chest reading, as pointed out by Plaintiff), and would have hired one regardless of

Plaintiff’s status. Exhibit FF to attached Supplemental Affidavit of Reid M. Wakefield,

Deposition of M. Rosen (“Rosen Dep.”) at 269:17-22; Second Rosen Aff., ¶ 18; Exhibit GG to

attached Supplemental Affidavit of Reid M. Wakefield, Affidavit of Randa Mowlood Aff.

(“Mowlood Aff.”), ¶ 13. The only reason Dr. Rosen mentioned Plaintiff’s position as a potential

replacement was from a financial perspective, as he believed she may move to per diem and,

consequently, that “FTE” would be available after the end of the fiscal year. Df. Ex. FF, Rosen

Dep. at 268:14-273:12. 8 This fact is not controverted by any admissible evidence, only

conjecture.

          Finally, Plaintiff claims that the methodology of the independent review “stacked the

deck” against her because it would be “virtually a foregone conclusion” that she “would end up

having numerically more reads with errors than any other radiologist.” Opposition, p. 21. This is



7
     Dr. Rosen was attempting to remedy to immediate concern brought to him by Dr. Robinson about the quality of
     chest CTs. See S.O.F., ¶¶ 130, 134-139.
8
     Plaintiff cites Dr. Rosen’s invitation to Plaintiff to move to per diem as nefarious, while the reality is that he
     offered it to her for her own benefit, because she expressed that she wanted to not take call, and other physicians
     had taken that option in the past. S.O.F, ¶¶ 80-84.

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a flagrant misrepresentation of how the review was performed and evaluated. As Plaintiff well

knows, the review was specifically designed to not compare Plaintiff to any other single

radiologist; it was designed to compare her to a control group of 25 other reads conducted of

chest CTs, by any radiologist. S.O.F., ¶ 153; Df. Ex. C, Rosen Dep. at 155:2-157:8; Pl. Ex.

VVV; Pl. Ex. PPP. Dr. Rosen did not compare Plaintiff’s error rate in 25 studies to any one other

radiologist’s 2-7 studies. Id.

          Despite Plaintiff declaring such a methodology unfair, she turns around and makes the

exact comparison to other physicians who had only 2-4 reads each included in the control group.

See Opposition, p. 22; P.S.O.F., ¶¶ 142-143; Pl. Ex. DDD. These comparisons are obviously

irrelevant and, as Plaintiff knows, this was not the evaluation performed and would indeed not be

an appropriate way to evaluate a radiologist’s performance.

          Plaintiff herself admits that the independent review was not conducted due to

discriminatory animus. At deposition, Plaintiff strenuously denied that age, sex, or disability

discrimination played a role in Dr. Rosen’s decision to have the review performed. Yet, Plaintiff

now asks the Court to disregard her own testimony, without any explanation or evidence, to

support why her testimony is not probative. This is not an instance where counsel asked her to

speculate as to evidence which supports her claims or in which counsel posed ambiguous

questions. Plaintiff was adamant that discrimination was not involved, insisting that her age, sex,

and disability had nothing to do with performing the review.

          Q. Do you believe Dr. Rosen made a decision to have 25 of your cases reviewed
             by an expert for quality purposes because you were age 67 at the time?
          A. I don’t think review has anything to do with the age. Both don’t go together.
          Q. I agree. I’m just trying to make sure you agree. So you’re not claiming that he
             made the decision to have it reviewed because of your age?
          A. Has nothing to do with age.




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          Q. Okay. Do you believe that Dr. Rosen made the decision to have 25 of your
             cases reviewed for quality purposes by an independent expert based on the
             fact that you’re a female?
          A. No.

S.O.F., ¶¶ 178-179; Df. Ex. D, Desai Dep. at 84:21-85:12. Defendants’ counsel persisted to

inquire in every way possible to evaluate whether she was claiming discrimination related to the

review, and based upon what protected classes, and Plaintiff insisted: “The age … disability …

[h]as nothing to do with the independent review.” Desai Dep. at 86:3-10; “I don’t know where

the age comes in. I still don’t understand the question. I really don’t.” Desai Dep. at 88:1-6;

“[A]ll these things has no relation with the independent review. That’s my answer.” Desai Dep.

at 89:1-5; “What’s the relation here? I don’t get it. I do not get it.” Desai Dep. at 89:16-19;

“Independent review has no relation to the age, sex, whatever. Why are you asking that

question.” Desai Dep. at 90:13-14. See S.O.F., ¶¶ 178-182.

          In response to these admissions, Plaintiff simply states: “Further review of the

information produced by Defendants in discovery evidences that Dr. Rosen knew the concerns

about the quality of Plaintiff’s work were not legitimate and also knew that her work quality was

not worse than that of her peers.” Response, ¶¶ 178-182. Plaintiff fails to cite evidence that

supports this claim, no specific evidence is cited which made Plaintiff suddenly reverse her firm

opinions to the contrary, and no explanation is provided as to why Plaintiff did not supplement

her testimony or provide an errata sheet as to her complete reversal; a failure which deprived

Defendants from conducting any follow up discovery into her substantial new claims. The

holding in Centola v. Potter, 183 F. Supp. 2d 403 (D. Mass. 2002), offered by Plaintiff, is

completely inapposite. In that case, the defendants were attempting to hold the plaintiff to

testimony as to the distinction between discrimination on the basis of his sexual orientation or his




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sex, where his testimony was ambiguous and he testified inconsistently. Id. at 410-11. Here,

Plaintiff gave unequivocal answers to unambiguous questions.

          Plaintiff further admitted at deposition that the independent review found quality

problems. S.O.F., ¶ 174. However, now, she believes her reads were fine since “the independent

expert concluded no life-threatening misses or misinterpretations were found,” see Response, ¶

174, and she “denie[s] that the results of the independent review should have led Dr. Rosen to

form the above stated conclusions regarding Plaintiff’s quality.” See Response, ¶ 171 (emphasis

supplied). Plaintiff concludes, without evidence, that “Rosen made a termination decision and

then concocted an opportunity and post hoc justification to effect it.” See Opposition, p. 23.

However, she utterly fails to explain how the independent reviewer’s determination that Plaintiff

had a significant number of major errors was concocted or discriminatory in any way. She offers

no evidence that Dr. Rosen did not believe Plaintiff had quality problems and reasonably relied

on the findings of an independent review, which confirmed his belief. Instead, she simply

questions his beliefs and decisions, which is insufficient to defeat summary judgment. See

Mesnick v. Gen. Elec. Co., 950 F.2d 816, 823 (1st Cir. 1991) (“It is not enough for a plaintiff

merely to impugn the veracity of the employer’s justification.”). The fact that Plaintiff engaged a

different radiologist to review and second-guess the independent review after the fact does not

change this analysis. In fact, Plaintiff’s expert testified that he did not know anything about the

independent review’s methodology or whether it was improper, 9 and himself concluded, in full




9
     Q. Okay. So is it fair to say that you don’t really know what the methodology was for the review done by
     UMass Memorial?
     A. That’s correct.


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support of Defendants’ position that “if you don’t know who read what case, you can’t

discriminate against a reader.” See Df. Ex. HH, Gruden Dep. at 77:17-19.

          Finally, Plaintiff asserts a provably false declaration that “Rosen’s record of hiring and

firing within the Department also evidences age animus.” See Opposition, p. 24. Again, Plaintiff

asks that the Court ignore the facts that disprove this claim and instead offers irrelevant

anecdotal testimony from a former employee and statistical information that has no relationship

to Plaintiff. See Ray v. Ropes & Gray LLP, 799 F.3d 99, 116 (1st Cir. 2015) (citing statistics

without making a meaningful connection between them and the employer’s decision-making

process specific to the plaintiff’s claims not sufficient to support an inference of

discrimination). 10

          B.         Terms of Employment 11




     Exhibit HH to attached Supplemental Affidavit of Reid M. Wakefield, Deposition of J. Gruden (“Gruden
     Dep.”) at 192:20-23. Dr. Gruden does not know if the review was blinded, does not know how the images were
     selected, does not know who selected the images, does not know which radiologists or the number of
     radiologists in the control group, does not know why the time period was chosen, does not know why or when
     the review was performed, and does not know long the review took. Gruden Dep. at 185:19-190:1; 196:11-14.
     Dr. Gruden’s opinion in his report with respect to the methodology is completely cursory, vague, unsupported,
     and unprofessional, and he was completely unable to support it at deposition.
10
     Also, after well over a year of discovery, Plaintiff can produce no evidence to support that Dr. Tosi committed a
     “wholly individual and distinct wrong separate from” Dr. Rosen’s alleged actions, that he “shared an intent to
     discriminate,” or that he “knew of his … supporting role in an enterprise designed” to discriminate on the basis
     of sex, age, or disability. See Saari v. Allegro Microsystems, LLC, 436 F. Supp. 3d 457, 466 (D. Mass. 2020).
     Despite Plaintiff’s sworn deposition testimony that the only basis for her claim against Dr. Tosi was that he
     signed her termination letter and could have stopped it, the only new evidence she offers is that Dr. Tosi
     approved a neutral staffing request by Dr. Rosen, taken out of context by Plaintiff. See Response, ¶ 227.
11
     Plaintiff alleges that for some reason Dr. Rosen decided to deny her home workstation due to her age, sex, and
     disability. However, one of the first to have such a workstation was Dr. Steeves, who Plaintiff admits is five
     years older than she is. Response, ¶ 98. Only nine out of the 92 radiologists on staff had a home workstation
     while Plaintiff was employed, and two of them were women. S.O.F., ¶ 99. Home workstations were approved
     for a minimal number of radiologists during the early trial stage (when Plaintiff was employed) based on
     specific reasons cited by Defendants, which are not disputed (with evidence) by Plaintiff. See Response, ¶¶ 100-
     102; Second Rosen Aff. ¶¶ 11-12. Plaintiff offers no facts whatsoever that demonstrate that she was denied one
     based on pretext for discrimination, and the facts completely undermine such motive.


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          The Medical Group’s call policy applies to every other radiologist in the Department.

S.O.F., ¶¶ 63, 76, 77. In an effort to sidestep this fact, Plaintiff unilaterally declares herself as a

“senior attending” who is exempt from call. See Response, ¶¶ 62-82. She contends that she was

exempt from call because the policy “specifically provides that ‘Senior attendings are exempt

from call and weekend/holiday coverage.’” Opposition, p. 10 (emphasis in original). What is

missing from her quotation of the policy, however, are the explicit criteria for this exemption.

The policy states, in full:

          5. Senior attending are exempt from call and weekend/holiday coverage but will
          maintain incentive bonus eligibility if they meet 2 of the following 3 criteria:
          • Age 72 years.
          • Academic rank of full Professor
          • 20 years of continuous service to the Department.

S.O.F., ¶ 63; Df. Ex. N. It is undisputed that Plaintiff did not meet these criteria, as she was not

72 years old, and she was not a full Professor. See P.S.O.F., ¶¶ 1, 4, 5. When Plaintiff demanded

that she not be required to take call due to her seniority, she was expressly told that she does not

meet the criteria of the policy and is therefore not exempt, and she was given a copy of the

policy. Pl. Ex. W; Mowlood Aff., ¶¶ 11-12. 12

          To the extent Plaintiff is now acting as if the listed criteria apply to the clause regarding

maintaining incentive bonus eligibility and not to qualifying one from being exempt from call

(despite never raising such a belief before), her position is dishonest. As Plaintiff knows, the

policy was implemented and applied to exempt a physician from call if they met two of the three




12
     Plaintiff cites a discussion with Human Resources to support her claim, but the email submitted specifically
     cites Dr. Balikian as having been exempted from call because he met the criteria in the policy, and Plaintiff did
     not. P.S.O.F., ¶ 18; Pl. Ex. W.


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criteria listed. 13 In fact, Plaintiff cites to Jerry Balikian, M.D., as having been exempt from call,

however, he was exempt because he met the criteria articulated in the policy, as a “senior

attending.” Second Rosen Aff., ¶ 3; Mowlood Aff., ¶ 5. He was the only radiologist who met

these criteria, and he retired in 2015, at age 88. Second Rosen Aff., ¶ 4. Aside from Dr. Balikian,

no regularly-employed radiologist has been exempt from call, or qualified for such an exemption

under the policy. S.O.F., ¶ 76. Defendants not granting Plaintiff special treatment and exempting

her from a critical requirement of her job is not discrimination.

          Plaintiff takes a similar tactic with respect to academic time, by – for the very first time –

contending that she was in fact entitled to academic time under the policy, and completely

reverses the entirety of her deposition testimony on the subject, without explanation. Plaintiff

never stated in discovery, and never stated to Dr. Rosen in his several discussions, that she

believed she was entitled to academic or administrative time for reasons covered in the policy.

          At her deposition, Plaintiff was shown each of her faculty reviews from 2009 to 2018,

and asked if she had performed any scholarly activities or leadership activities, and she testified

that she did not. S.O.F., ¶ 47; Df. Ex. D, Desai Dep. at 250:19-252:23; 254:1-257:22; 259:9-

263:14; 265:4-267:5; 316:12-317:8; 355:17-357:7. Plaintiff also testified that she did not intend

to use the academic time she was requesting for the purposes of academic work:

          Q. What were you going to do with your academic time?
          A. Take a break so I can recuperate for the next day.

13
     This policy was created by Joseph Ferrucci, M.D., who served as Interim Department Chair from 2007 to 2012.
     Affidavit of Joseph Ferrucci, M.D. (“Ferucci Aff.”), ¶¶ 2-3. Dr. Ferrucci intended the policy to provide that if a
     physician met two of the three criteria listed, that physician would be exempt from call. Ferruci Aff., ¶¶ 4-5. In
     fact, that is how the policy has always been interpreted and applied within the Department, during Dr.
     Ferrucci’s tenure and Dr. Rosen’s. Ferruci Aff., ¶ 5; Second Rosen Aff., ¶ 3; Mowlood Aff., ¶¶ 4-8. Indeed, any
     other interpretation does not make sense. The term “senior attending” is not a term used within the Department
     for any other purpose; the definition of “senior attending” is a physician who meets the criteria listed in the call
     policy, and is thus exempt from call. Ferruci Aff., ¶ 6; Mowlood Aff., ¶ 10. Certainly, qualifying as a “senior
     attending” is not a matter of a physician such as Plaintiff declaring herself as such and exempting herself from a
     uniformly applied requirement of her job. Notably, Plaintiff can proffer no admissible evidence to dispute the
     above.

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S.O.F., ¶ 53; Df. Ex. D, Desai Dep. at 112:12-14. She also testified unequivocally that she did

not have a role under the policy which would qualify her for administrative time.

          Q. Under the Academic and Administrative Time Policy, there is a section that
             deals with administrative time. You did not have any administrative role that
             would qualify you for administrative time, right?
          A. Yes.
          Q. Yes, meaning you didn’t have an administrative role?
          A. No, I did not.

S.O.F., ¶ 58; Df. Ex. D, Desai Dep. at 119:6-14. Instead, Plaintiff testified that she was entitled

to academic time because she should have been “grandfathered” and exempt from the policy

based on her seniority. S.O.F., ¶ 59; Df. Ex. D, Desai Dep. at 120:7-11. 14

          Plaintiff never, in her multiple discussions with Dr. Rosen on the subject, raised such

contentions, and, instead, after Dr. Rosen asked her to provide a proposal, she refused. See

S.O.F., ¶¶ 50-52. Regardless, her position is specious, as she was not entitled to academic time.

          Plaintiff claims that she is entitled to academic time due to her teaching responsibilities.

As Plaintiff well-knows, it is a part of every member of the Medical School faculty to engage in

the teaching of residents or medical students. 15 Second Rosen Aff., ¶ 5. Academic time is not

provided to radiologists for their regular teaching responsibilities as faculty of the Medical

School. Second Rosen Aff., ¶¶ 5-7. While in her Opposition, Plaintiff carefully excerpts

language from the policy in misleading fashion to reflect that academic time can be used for

“teaching”, see Opposition, p. 11, the full reference in the academic time policy is that “time may

be allotted” for “teaching/conference preparation.” S.O.F., ¶ 40-41; Df. Ex. J. This reference is


14
     Once again, Plaintiff never altered her key testimony in this regard via errata sheet so that Defendants could
     further inquire as to the “new” theory concocted by her; instead, she merely attempts to avoid summary
     judgment by simply contradicting her under-oath admissions.
15
     As acknowledged by Plaintiff, these duties are indeed part of her regular job as a radiologist at an academic
     hospital, and she is paid by the Medical School for performing these duties. P.S.O.F., ¶¶ 24, 326.


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not to a radiologist’s regular job duties teaching students in the reading room; it is to academic

activity outside of regular job duties, including providing lectures or performing research or

mentoring projects with residents or medical students. Second Rosen Aff., ¶ 6. There is no

evidence that Plaintiff ever conducted lectures or provided any academic work related to

teaching or conferences, and in fact, she has listed no such activities in her faculty reviews since

2009. S.O.F., ¶ 47. 16

          Plaintiff also claims, despite testifying that she did not have role that qualified her for

administrative time, that she should have been entitled to administrative time for serving as “the

Quality Assurance representative for the Chest Division on the Quality Improvement

Committee.” Plaintiff asserts that such a duty is “specifically listed as a qualifying duty,”

Opposition, p. 11, yet the evidence cited (P.S.O.F., ¶¶ 30-31), unsurprisingly, does not support

this claim in any way. Instead, Plaintiff declares that “[q]uality assurance constitutes an ‘Other-

Admin / Academic Function’ administrative duty,” and cites to the academic policy, which says

nothing about the subject. See P.S.O.F., ¶ 31; Pl. Ex. AA. The fact is that no radiologist in the

Department received administrative time for serving on the Quality Improvement Committee,

with the exception of Steven Baccei, M.D., who was granted administrative time due to serving

as the Vice Chair for Quality, Patient Safety and Process Improvement. Second Rosen Aff., ¶ 8.

          Finally, Plaintiff invents another administrative role (after testifying she did not have

one) by questioning the job being performed by her supervisor, contending that she “regularly

covered the division” and “assumed full responsibility for leadership and effective daily



16
     Plaintiff pretends that her teaching responsibilities were increased at a time, from 8% to 25%. See Opposition,
     p. 11; Response, ¶ 46. However, the allocated 75% to 25% percentage between clinical and education is
     universal. Second Rosen Aff., ¶ 9. As Plaintiff knows (because Defendants have produced all of the forms for
     every radiologist), a 75% to 25% ratio is the default allocation, and virtually all regular clinical faculty have the
     same 25% allocated to education on these forms. See Second Rosen Aff., ¶ 9.


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operational management of the Division of Thoracic Radiology.” See Opposition, p. 11;

P.S.O.F., ¶ 32. 17 Of course, Plaintiff provides no evidence of what duties of the Division Chief

role she performed – and, in fact, she admits under oath she does not know what the duties of a

Division Chief are. See Exhibit II to attached Supplemental Affidavit of Reid M. Wakefield,

Desai Dep. at 300:8-18.

          Critically, Dr. Desai never had academic time, 18 and her suggestion that Dr. Rosen

suddenly decided to deny her such time based on her age, sex, or disability (or any other reason)

is absurd. Dr. Rosen asked her to advise him why she desired academic time, and she never told

him. She never said that she wished to use it for teaching responsibilities. She never said that she

qualified for time for serving as quality representative. She never responded at all. Then, when

inquired in discovery, Plaintiff raised none of these claims. The admitted truth is that Dr. Desai

wanted academic time so that she could have time off and take a break, and believed that due to

her longevity, she was entitled to an exception.

          Plaintiff further claims that Dr. Rosen made exceptions to the academic time policy, even

though he said no exception could be made. Opposition, p. 12; Response, 54-55. First, Dr.

Rosen’s statement was that no exception could be made by granting academic time to a

physician who did no academic work. (CITE) The undisputed facts in the record are that Dr.

Rosen in fact has not made an exception. Plaintiff confirms that she cannot identify any



17
     Plaintiff cites only to her own statement she entered in her 2017-2018 faculty review to support her claim.
     P.S.O.F., ¶ 32. However, even though she attributes this “role” to Dr. Dill’s absence, and the denial of related
     academic/administrative time to Dr. Rosen’s discrimination, she wrote the same statement in her faculty
     reviews since 2009, well before Dr. Dill (2016) or Dr. Rosen (2012) were in the Department. Pl. Ex. T, UMM
     00268, 274, 286, 291, 296, 301, 306, 311. Yet, she never received academic or administrative time.
18
     Plaintiff admits that she was not allotted academic time since at least 2010 – well prior to Dr. Rosen becoming
     Chair – and that she has not authored any scholarly publications since 2002. Response, ¶¶ 45-46. Plaintiff
     alleges that she had academic time under a previous Department Chair, Edward Smith, M.D., who left in
     approximately 2002. Second Rosen Aff., ¶ 10.

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radiologist who performed no academic activity and was granted academic time. See Response,

¶¶ 56, 57.

          Even so, what Plaintiff refers to as “exceptions” made by Dr. Rosen are not exceptions at

all. Plaintiff simply recites amounts of time received by other radiologists, without explaining

why she believes they are “exceptions.” See Opposition, pp. 12-13. The academic time policy

does not provide for the amounts of time for different academic work or maximum amounts of

academic time. Df. Ex. J. Time is based on an evaluation by Dr. Rosen of the specific work

being performed or to be performed by each physician. S.O.F., ¶¶ 42-44. Plaintiff disputes the

fact that Dr. Rosen reviews the academic productivity of radiologists, but provides no evidence

to support her unfounded belief. See Opposition, p. 12; Response, ¶¶ 42-44. 19 Once again,

Plaintiff’s claim is based on not being treated more favorably than her colleagues.

          C.         Reasonable Accommodation

          Contrary to Plaintiff’s characterization, Defendants’ position is not that the Medical

Group was not aware of Plaintiff’s disability. The Medical Group was aware that Plaintiff had a

medical condition that required the need for occasional time off. Indeed, the Medical Group

repeatedly granted Plaintiff the exact accommodations that she requested for her condition, the

ability to take time off work when she needed it. 20 While Plaintiff specifically testified that time




19
     Plaintiff cites to Dr. Rosen’s deposition testimony, Response, ¶¶ 43-44; P.S.O.F., ¶¶ 45-46, but the cited
     testimony does not support Plaintiff’s conclusory statements, and, in fact, Dr. Rosen’s testimony is the opposite.
     S.O.F., ¶¶ 42-44.

20
     Plaintiff appears to contend that leave under FMLA was insufficient because her needs were unpredictable, that
     her episodes may not have required the use of FMLA, or that even though she could have used sick time, she
     chose not to. See Response, ¶¶ 24-30, 33. However, she was entitled to take both FMLA time and sick time
     from her abundant sick time bank for unpredictable medical reasons, of any duration, or to take a break to avoid
     the fatigue that she alleges caused her episodes. Plaintiff completely fails to explain why the accommodations
     she was granted were insufficient, and further fails to explain why if she believed she needed additional or
     different time off under the FMLA (under which she was granted exactly what she requested year after year),
     she did not make that request.

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off was the only accommodation she needed, and that she received exactly what she requested,

once again, she disputes her own testimony without explanation or contrary evidence. See

Response, ¶¶ 22-35. At deposition, Plaintiff testified:

          Q. If I’m correct, and correct me if I’m wrong, but just based on what we
             discussed today, my understanding is that the tachy-brady syndrome did not
             affect your ability to perform the essential functions of your job except to the
             extent where you would have an episode that might require you to use FMLA
             leave, correct?
          A. Correct.
          Q. Okay. Absent that, when you were on the job, you could do all the essential
             functions of the job?
          A. Yes.

S.O.F., ¶¶ 33-34; Df. Ex. D, Desai Dep. at 186:20-187:11.

          Q. I’m just making sure I understand that the only request you made to assist you with
             your medical condition was the ability to take time off through the FMLA process
             when you would have an occurrence of symptoms.
          A. Yes.

S.O.F., ¶ 35, Df. Ex. D, Desai Dep. at 199:8-14.

          Plaintiff disputes her testimony and alleges that she “also requested to be relieved of call

responsibilities, to be granted academic (i.e., non-clinical) days, and again to be given a personal

workstation so she could work from home.” Response, ¶ 35. However, no evidence is provided

to support this claim. In her opposition to Defendants’ Motion, Plaintiff offers no evidence at all,

and in fact does not even allege, that she requested these accommodations. Instead, she offers

testimony to allege vaguely that her condition was “universally known” throughout the

Department, and that Dr. Rosen should have guessed that every time she requested special

treatment it was due to a disability, even though she admittedly never said so, and instead

expressed that her requests were for different reasons, such as her seniority or a desire to be

grandfathered from policy. See Response, ¶¶ 59, 74-75; S.O.F., ¶¶ 87-92. An employer does not

have an obligation to “divine the need for a special accommodation” under these facts, as it is the

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employee’s obligation to provide “sufficiently direct” notice of a need. See Reed v. LePage

Bakeries, Inc., 244 F.3d 254, 260-61 (1st Cir. 2001).

          D.         Failure to Promote

          Plaintiff appears to only claim that she should have been asked if she wanted the Division

Chief role due to her seniority, not that she should have received the position. See S.O.F., ¶¶

119-125. To the extent she is bringing a failure to promote claim, not only is it barred by the

statute of limitations, it is completely without merit. In her Opposition papers, Plaintiff

repeatedly claims that the Department had a practice of offering the Division Chief role to the

most senior radiologist in a division and that the Medical Group deviated from this practice by

not offering her the role. While Plaintiff claims that this was “prior practice within the

Department,” was “customary practice in the Department of Radiology, prior to Dr. Rosen’s

arrival,” and “[i]n the field of Radiology, it is common practice,” she provides no evidence to

support these conclusions at all. See Response, ¶¶ 121, 122, 125. She cites only to her own

deposition testimony, but even the cited testimony does not relate to these conclusions. See

Response, ¶ 121. Regardless, Plaintiff is not competent to testify as to the prior practice within

the Department or the common practice in the field of radiology.

          In fact, she is incorrect in any event, as this was not the prior practice in the Department

during Dr. Rosen or his predecessor’s tenure. See Second Rosen Aff., ¶ 13; Exhibit JJ to attached

Supplemental Affidavit of Reid M. Wakefield, Affidavit of Joseph Ferrucci (“Ferrucci Aff.”), ¶¶

7-8. The position of Division Chief was not an honorary title granted to the most tenured

physician in a division; it was a critical position charged with managing the daily operations of

the division, handling financial matters and business functions, strategic planning, faculty

development, quality improvement, research and education, and other responsibilities. See



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S.O.F., ¶ 256. 21 Department Chairs filled these roles with the most qualified physician for the

position in order to best meet the needs of the Department. Second Rosen Aff., ¶ 13; Ferrucci

Aff., ¶ 7. 22

          Regardless of prior or customary practice, Plaintiff worked in the Department under Dr.

Rosen for the better part of four years prior to the hiring of Dr. Dill, and she admits that she did

not apply or express interest in the position. See Response, ¶ 121; S.O.F., ¶¶ 15, 119. In an effort

to oppose the facts offered by Defendants, Plaintiff disputes her own admission at her deposition

that Dr. Dill was more qualified than her to be Division Chief. She claims that is not what she

said, but instead she “expressed that Dr. Dill was qualified to perform duties as a staff radiologist

in the Division of Cardiothoracic Imaging, not that Dr. Dill was more qualified to serve as

Division Chief.” Response, ¶ 123. However, a reading of her testimony reveals that she in fact

admitted exactly as Defendants stated, virtually verbatim:

          Q. Do you believe your qualifications are superior to Dr. Dill’s to be Division
              Chief of Chest Radiology?
          A.· No.

S.O.F., ¶ 123; Ex. D, Desai Dep. at 157:12-15. 23

          II.        Equal Pay (Counts II and IV)

          Plaintiff does not dispute the fact that the Medical Group conducted a review of

radiologist compensation and implemented a standardized compensation structure. See


21
     Plaintiff does not know what the duties of a Division Chief are. See Df. Ex. II, Desai Dep. at 300:8-18.
22
     In fact, after Plaintiff’s termination, Dr. Dill left the Medical Group, and she was replaced as Division Chief by
     an external candidate who is 59 years old. In doing so, Dr. Rosen passed over the most senior chest radiologist,
     44 year old Maria Barile. See Second Rosen Aff., ¶ 14.
23
     Plaintiff also disputes her own testimony that she only “should have been asked” if she wanted the position as a
     “common courtesy,” and not that she was alleging she should have been given the position. See Response, ¶¶
     124-125. Plaintiff provides no explanation why she testified to one thing and is now asserting another, through
     argument only. Id.


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Response, ¶¶ 237-239. 24 She does not dispute that this review resulted in a significant raise for

her, and a raise for every single full-time female radiologist employed as of March 1, 2017. See

Response, ¶¶ 240, 242. Plaintiff does not contest the fact that the Medical Group is entitled to a

complete affirmative defense to claims for discriminatory pay practices under both the

Massachusetts Equal Pay Act and Chapter 151B. 25

          Critically, Plaintiff has failed to identify any younger or male radiologist in a role

requiring equal or substantially similar skill, effort, and responsibility who was paid more than

her. While she denies that she made more than Dr. Schmidlin in early 2016, she cites her salary

after it was voluntarily reduced by $19,200 as a result of her selling her calls. See Response, ¶

253; P.S.O.F., ¶ 276; S.O.F., ¶¶ 67-70. Before this voluntary reduction, Plaintiff’s annual salary

was $302,575 and Dr. Schmidlin’s was $294,000. S.O.F., ¶¶ 240, 253. Regardless, even if there

were a salary disparity in 2016, 26 this claim is barred by the statute of limitations as well as the

Medical Group’s affirmative defense under M.G.L. c. 149, § 105A(d).

          In her Opposition, well after the close of discovery, Plaintiff – for the first time – adds a

new physician which she alleges was unlawfully paid more than her based on age and sex: Brian

Brochu, M.D. See P.S.O.F., ¶¶ 272-274. However, like other physicians previously offered by

Plaintiff as comparators, Dr. Brochu was specifically paid more than Plaintiff due to his

administrative and leadership role he held with the Medical Group. Dr. Brochu was hired to


24
     Plaintiff disputes that the Medical Group uniformly applied this structure, see Response, ¶ 239; a claim which is
     addressed below.
25
     While Plaintiff disputes her own testimony that the Medical Group undertook an analysis of compensation,
     attempted to correct any pay disparities, acted in good faith to address any pay disparities, and has made
     reasonable progress, she does not offer any contrary evidence or explanation for any change in her testimony.
     See Response, ¶¶ 243-244. The only evidence she relies on is a claim that one physician was not paid in
     accordance with the pay structure, see P.S.O.F., ¶ 273, which is meritless and is addressed below.
26
     Dr. Schmidlin left regular employment on June 28, 2016. S.O.F., ¶ 89.


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serve as the Chief of Radiology at Marlborough Hospital, and in that role, Dr. Brochu was

responsible for managing the Medical Group’s services provided to Marlborough Hospital, and

he had substantial administrative and management duties, as well as responsibility for

performing interventional work. See Second Rosen Aff., ¶ 21; Pl. Ex. YYYY. As with the other

physicians serving in administrative and leadership roles, which demanded significantly more

responsibility than performing only clinical work, Dr. Brochu is not similarly-situated or equal to

Plaintiff – a fact of which she is undoubtedly aware.

          Plaintiff appears to admit that the physicians she previously cited as having been paid

more than her – Dr. Harman, Dr. Schmidlin (after 2016), Dr. Chen, Dr. Kotecha, Dr. Dill, Dr.

Baccei, Dr. Cerniglia, Dr. Coughlin, and Dr. Dundamadappa – were in fact not similarly situated

to her. 27 Instead, Plaintiff claims that their base salaries were the same as hers even though they

had less experience than her. See P.S.O.F., 279-289. 28 She additionally raises another younger,

female physician, Maria Barile, M.D., as one making the same as her. See P.S.O.F., ¶¶ 295-

296. 29 However, paying employees the same despite their membership in different protected

classes is not unlawful. See M.G.L. c. 149, § 105A; 29 U.S.C. § 206(d)(1). The Medical Group is

free to pay newer employees the same as more tenured employees, which it does pursuant to a

standardized pay scale implemented for the sole purpose of preventing discrimination in




27
     Plaintiff does not provide any evidence to dispute Defendants’ evidence of the various leadership and
     administrative roles held by Dr. Dill, Dr. Baccei, Dr. Cerniglia, or Dr. Dundamadappa, or the fact that Dr.
     Harman was paid more due to his very different role as an interventional radiologist. See Response, ¶¶ 251,
     255-261. Despite denying these facts, Plaintiff’s citations do not support any basis for a denial.
28
     Plaintiff denies that Dr. Kotecha and Dr. Chen were paid less than her, but does not cite evidence which
     supports this claim. See Response 254; P.S.O.F., ¶¶ 279-283. Regardless, Plaintiff admits that they were not
     paid more than her. Id.
29
     Dr. Barile was also paid less than Plaintiff, as she made $330,000 per year compared to Plaintiff’s $340,000.
     See Second Rosen Aff., ¶ 20.


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compensation. Plaintiff is wholly unable to show that she was paid less than a similarly-situated

employee or that she was discriminated against in her compensation in any way. Plaintiff’s claim

is instead that she should have been treated better than her colleagues based on tenure.

          III.       Defamation

          Initially, Plaintiff admits that Dr. Tosi did not defame her, as he only signed her

termination letter and did not publish it, and he is therefore entitled to summary judgment on this

count. Response, ¶ 229. Plaintiff also does not attempt to allege defamation against the Medical

Center, and it is entitled to summary judgment as well.

          As to the other Defendants, Plaintiff does not materially dispute any facts as to the

statements she alleged in discovery were defamatory statements. See Response, ¶¶ 211-221. 30 As

to her claim that the restriction of her reading CTs, or the communication thereof, was

defamatory, she does not offer any evidence that this information was shared in anything but a

discreet manner on a need to know basis for necessary reasons only. See Response, ¶ 221. 31

          Plaintiff was specifically asked in interrogatories to identify all statements she claims

were defamatory, and, in response, she enumerated nine instances of alleged defamation. S.O.F.,

¶ 210; Df. Ex. BB. However, in her Opposition papers, she disputes her own sworn answer, and

offers another list of six brand new allegations. See Response, ¶ 210. While it is clear that

Plaintiff believes her own deposition testimony is meaningless, it strains reason why she would

not offer a complete and accurate interrogatory answer. 32 Defendants have no way of now


30
     To the extent Plaintiff disputes that the various documents or statements were not published, she admits that
     they were not published outside of the organization. See Response, ¶¶ 216, 218, 219, 221.
31
     While she indicates that she disputes this fact, Plaintiff does not offer any evidence to the contrary, nor can she.
     See Response, ¶ 221.

32
     Plaintiff never supplemented this answer, and does not explain why these new allegations were not disclosed in
     over a year of discovery.


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conducting discovery into these brand new allegations in order to determine the basis for

Plaintiff’s claims. Nonetheless, even a cursory review of this list reveals that they are not false

statements published by any Defendant to a third party. They are either not statements made by a

Defendant at all, are indisputably true, and/or are clear statements of opinion (or are privileged).

See Response, ¶ 210.

          Plaintiff appears to allege that actions taken against her were defamation, regardless of

whether they consisted of a false statement about her published to a third party. See Flagg v.

AliMed, Inc., 466 Mass. 23, 37 (2013) (the Supreme Judicial Court’s definition of defamation).

While a defamatory statement may not necessarily have to be an articulated in written or verbal

form, there is no question that the unlawful act must be a form of communication, and a

communication of an “objectively verifiable fact,” at that. See Saad v. Am. Diabetes Ass’n, 123

F. Supp. 3d 175, 177 (D. Mass. 2015); Jorgensen v. Massachusetts Port Auth., 905 F.2d 515, 520

(1st Cir. 1990) (holding that an act which injures one’s reputation is not sufficient to state a claim

for defamation, but there must be a communication). Plaintiff appears to attempt to transform

any conduct into an actionable defamatory act, so that all alleged wrongs committed by one

person against another constitute a tort claim. Even if Plaintiff’s allegations of discrimination

could all be proven, she fails to meet the elements of a defamation claim. Further, any

communications were privileged, and there is no evidence to support that any Defendant acted

with malice at all, let alone with respect to the alleged defamatory acts. 33

                                                               Respectfully submitted,


33
     Instead of offering specific facts which would permit a jury to find malice, Plaintiff offers nothing but
     conjecture as to Dr. Rosen’s motives. Even if there was sufficient evidence that Dr. Rosen discriminated against
     Plaintiff (which there is not), such a finding does not necessarily equate to malice for the purposes Plaintiff’s
     Intentional Interference claim, as defined by Massachusetts law. See Weber v. Cmty. Teamwork, Inc., 434
     Mass. 761, 782 (2001). Certainly, there is no evidence whatsoever that Dr. Tosi acted with malice, as the entire
     basis of Plaintiff’s claims against him is that he was marginally involved and formally approved decisions by
     Dr. Rosen as the President of the Medical Group.

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                                                         UMASS MEMORIAL MEDICAL
                                                         CENTER, INC., UMASS MEMORIAL
                                                         MEDICAL GROUP, INC., MAX
                                                         ROSEN, M.D., and STEPHEN
                                                         TOSI, M.D.

                                                         By their attorneys,


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Dated: March 4, 2022


                                          CERTIFICATE OF SERVICE

        I, Reid M. Wakefield, hereby certify that this document, filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) and paper copies will be sent to those indicated as non-registered participants on
this day.

                                                             /s/ Reid M. Wakefield
                                                             Reid M. Wakefield, Esq.

Dated: March 4, 2022




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